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     JOHN F. GARLAND #117554
 1   Attorney at Law
     2950 Mariposa Street, Suite 130
 2   Fresno, California 93721
 3   Telephone: (559) 497-6132
 4   Attorney for Defendant,
     LENELE MARIA NUNEZ
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 6
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                                 Case No. 1:15-CR-00046 LJO-SKO
10           Plaintiff,                                        WAIVER OF APPEARANCE
11                                                             AND ORDER THEREON
                    v.
12                                                             DATE: November 2, 2015
     LENELE MARIA NUNEZ,                                       TIME: 1:00 p.m.
13                                                             Courtroom Seven
            Defendant.
14                                                             HONORABLE SHEILA K. OBERTOl

15
16          Defendant, LENELE MARIA NUNEZ, hereby waives her right to be present in person
17   in open court upon the hearing presently set for November 2, 2015 at 1:00 p.m. in Courtroom
18
     Seven of the above entitled court. Defendant hereby requests the court to proceed in her
19
     absence and agrees that her interests will be deemed represented at said hearing the the
20
21   presence of her attorney, John F. Garland. Defendant further agrees to be present in court at all

22   future hearing dates to be set by the court including the date set for jury trial.
23
24   Dated: October 20, 2015                                          /s/ Lenele Maria Nunez
                                                                    LENELE MARIA NUNEZ
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     ___________________________________________________________________________________________________________________
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 1                                                ORDER
 2
 3            Good cause appearing,

 4            IT IS HEREBY ORDERED that defendant LENELE MARIA NUNEZ is hereby
 5
     excused from appearing at the court hearing scheduled for November 2, 2015 at 1:00 p.m.
 6
 7   IT IS SO ORDERED.
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     Dated:      October 21, 2015                                           /s/ Sheila K. Oberto
 9                                                              UNITED STATES MAGISTRATE JUDGE
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